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 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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        GEORGE DC PARKER, II & LORI A                        CASE NO. 3:23-cv-05069-RJB
11      PARKER,
                                                             ORDER DENYING MOTION TO
12                                  Plaintiffs,              APPOINT COUNSEL
                v.
13
        SOCIETY FOR CREATIVE
14      ANACHRONISM, aka SCA and/or SCA,
        INC.,
15
                                    Defendant.
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            This matter comes before the Court on the Plaintiffs’ Application for Court Appointed
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     Counsel. Dkt. 39. The Court has considered the pleadings filed in support of and in opposition
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     to the motion and the file herein.
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        The Plaintiffs, pro se, filed this case on January 25, 2023, asserting claims for negligence and
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     negligent infliction of emotional distress in connection with events which allegedly occurred
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     while the Plaintiffs were members of Defendant Society for Creative Anachronism, Inc. Dkt. 9.
22
     Their applications to proceed in forma pauperis were granted on April 17, 2023. Dkt. 8.
23
     Plaintiffs now request that the Court to appoint counsel to represent them in this case. Dkt. 39.
24


     ORDER DENYING MOTION TO APPOINT COUNSEL - 1
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 1      Under 28 U.S.C. § 1915(e)(1), the court may request an attorney to represent any person

 2   unable to afford counsel. Under Section 1915, the court may appoint counsel in exceptional

 3   circumstances. Franklin v. Murphy, 745 F.2d 1221,1236 (9th Cir. 1984). To find exceptional

 4   circumstances, the court must evaluate the likelihood of success on the merits and the ability of

 5   the petitioner to articulate the claims pro se in light of the complexity of the legal issues

 6   involved. Weygandt v. Look, 718 F.2d 952, 954 (9th Cir. 1983).

 7      The Plaintiffs’ motion should be denied. It is unclear whether they are likely to succeed on

 8   the merits; certainly no showing has yet been made. Further, the Plaintiffs are relatively

 9   articulate in raising issues and explaining their positions to the Court. The case does not present

10   exceptional circumstances.

11                                                   ORDER

12          Therefore, it is hereby ORDERED that:

13                 The Plaintiffs’ Application for Court Appointed Counsel (Dkt. 39) IS DENIED.

14          The Clerk is directed to send uncertified copies of this Order to all counsel of record and

15   to any party appearing pro se at said party’s last known address.

16          Dated this 30th day of November, 2023.

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                                            A
                                            ROBERT J. BRYAN
19                                          United States District Judge

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     ORDER DENYING MOTION TO APPOINT COUNSEL - 2
